Case 9:08-cv-80069-KAM Document 1 Entered on FLSD Docket 01/25/2008 Page 1 of 7

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO::

JANE DOE NO. 1, by and through Q 8 - SQ 0 6 9

JANE DOE’s FATHER as parent and natural

guardian, and JANE DOE’s FATHER, and C i . M A R R h

JANE DOE’s STEPMOTHER, individually,
MAGISTRATE JUDGE
Plaintiffs, JOHNSON

 
    
  
  

Vs. FILED by
INTAKE
JEFFREY EPSTEIN,
JAN 24 2008

Defendant. CLARENCE MADDOX

    

 

   

 

/ SRE ie PE Rb,
COMPLAINT

Plaintiff, Jane Doe No. 1 (‘“Jane” or “Jane Doe”), by and through Jane Doe’s Father as parent
and natural guardian, and Jane Doe’s Father and Jane Doe’s Stepmother, individually, bring this
Complaint against Jeffrey Epstein, as follows:

Parties, Jurisdiction and Venue

1. Jane Doe is a citizen and resident of the State of Florida. She is a minor under the
age of 18 years.

2. Jane Doe’s Father brings this action individually and as parent and natural guardian of
Jane Doe. Jane Doe’s Father is a citizen and resident of the State of Florida.

3. Jane Doe’s Stepmother brings this action individually. Jane Doe’s Stepmother is a
citizen and resident of the State of Florida.

4. This Complaint is brought under fictitious names to protect the identity of the Minor

Plaintiff because this Complaint makes sensitive allegations of sexual assault and abuse upon a

HERMAN & MERMELSTEIN, P. A. www.hermanlaw.com
Case 9:08-cv-80069-KAM Document 1 Entered on FLSD Docket 01/25/2008 Page 2 of 7

minor.
5. Defendant Jeffrey Epstein is a citizen and resident of the State of New York.
6. This is an action for damages in excess of $50 million.
7. This Court has jurisdiction of this action and the claims set forth herein pursuant to 28

U.S.C. §1332(a), as the matter in controversy (i) exceeds $75,000, exclusive of interest and costs;
and (ii) is between citizens of different states.

8. This Court has venue of this action pursuant to 28 U.S.C. §1391(a) as a substantial
part of the events or omissions giving rise to the claim occurred in this District.

Factual Allegations

9. At all relevant times, Defendant Jeffrey Epstein (“Epstein”) was an adult male, 52
years old. Epstein is a financier and money manager with a secret clientele limited exclusively to
billionaires. He is himself a man of tremendous wealth, power and influence. He maintains his
principal home in New York and also owns residences in New Mexico, St. Thomas and Palm Beach,
FL. The allegations herein concern Epstein’s conduct while at his lavish estate in Palm Beach.

10. Upon information and belief, Epstein has a sexual preference and obsession for
underage minor girls. He engaged in a plan and scheme in which he gained access to primarily
economically disadvantaged minor girls in his home, sexually assaulted these girls, and then gave
them money. In or about 2005, Jane Doe, then 14 years old, fell into Epstein’s trap and became one
of his victims.

11. Upon information and belief, Jeffrey Epstein carried out his scheme and assaulted
girls in Florida, New York and on his private island, known as Little St. James, in St. Thomas.

12. An integral player in Epstein’s Florida scheme was Haley Robson, a Palm Beach

HERMAN & MERMELSTEIN, P. A. www.hermanlaw.com
Case 9:08-cv-80069-KAM Document 1 Entered on FLSD Docket 01/25/2008 Page 3 of 7

Community College student from Loxahatchee, Florida. She recruited girls ostensibly to give a
wealthy man a massage for monetary compensation in his Palm Beach mansion. Under Epstein’s
plan, Ms. Robson would be contacted when Epstein was planning to be at his Palm Beach residence
or soon after he had arrived there. Epstein or someone on his behalf directed Ms. Robson to bring
one or more underage girls to the residence. Ms. Robson, upon information and belief, generally
sought out economically disadvantaged underage girls from Loxahatchee and surrounding areas who
would be enticed by the money being offered - generally $200 to $300 per “massage” session - and
who were perceived as less likely to complain to authorities or have credibility if allegations of
improper conduct were made. This was an important element of Epstein’s plan.

13. Epstein’s plan and scheme reflected a particular pattern and method. Upon arrival at
Epstein’s mansion, Mr. Robson would introduce each victim to Sarah Kellen, Epstein’s assistant,
who gathered the girl’s personal information, including her name and telephone number. Ms. Kellen
would then bring the girl up a flight of stairs to a bedroom that contained a massage table in addition
to other furnishings. There were photographs of nude women lining the stairway hall and in the
bedroom. Ms. Kellen would then leave the girl alone in this room, whereupon Epstein would enter
wearing only a towel. He would then remove his towel, lay down naked on the massage table, and
direct the girl to remove her clothes. He then would perform one or more lewd, lascivious and
sexual acts, including masturbation and touching the girl’s vagina with a vibrator.

14. Consistent with the foregoing plan and scheme, Ms. Robson recruited Jane Doe to
give Epstein a massage for monetary compensation. Ms. Robson brought Jane to Epstein’s mansion
in Palm Beach. Jane was introduced to Sarah Kellen, who led her up the flight of stairs to the room

with the massage table. She was alone in the room when Epstein arrived wearing only a towel. He

HERMAN & MERMELSTEIN, P. A. www.hermanlaw.com
Case 9:08-cv-80069-KAM Document 1 Entered on FLSD Docket 01/25/2008 Page 4 of 7

removed his towel, and laid down naked on the massage table. He demanded that Jane remove her
clothes. In shock, fear and trepidation, Jane complied, removing her clothes except for her
underwear. Epstein then sexually assaulted Jane.

15. After Epstein had completed the assault, he left the room. Jane was then able to get
dressed, leave the room and go back down the stairs. She then met Ms. Robson again who brought
Jane home. Jane was paid $300 by Epstein. Ms. Robson was paid $200 by Epstein for bringing Jane
to him.

16. As a result of this encounter with Epstein, the 14-year old Jane experienced
confusion, shame, humiliation, embarrassment and the assault sent her life into a downward spiral.

COUNT I
Sexual Assault

17. Plaintiff Jane Doe by and through her Father, as parent and natural guardian, repeats
and realleges paragraphs 1 through 16 above.

18. Epstein tortiously assaulted Jane Doe sexually in or about 2005.

19. This sexual assault was in violation of Chapter 800 of the Florida Statutes, which
recognizes as a crime the lewd and lascivious acts committed by Epstein upon Jane.

20. Asadirect and proximate result of Epstein’s assault on Jane, she has suffered and will
continue to suffer severe and permanent traumatic injuries, including mental, psychological and
emotional damages.

WHEREFORE, Plaintiff Jane Doe, by and through her Father, as parent and natural guardian,
demands judgment against Defendant J effrey Epstein for compensatory damages, punitive damages,

costs, and such other and further relief as this Court deems Just and proper.

HERMAN & MERMELSTEIN, P. A. www.hermanlaw.com
Case 9:08-cv-80069-KAM Document 1 Entered on FLSD Docket 01/25/2008 Page 5 of 7

COUNT II .
Intentional Infliction of Emotional Distress

21. _ Plaintiffs Jane Doe by and through her Father, as parent and natural guardian, Jane
Doe’s Father and Jane Doe’s Stepmother, individually, repeat and reallege paragraphs | through 16
above.

22. Epstein’s conduct was intentional or reckless.

23. Epstein's conduct was outrageous, going beyond all bounds of decency.

24. _ Epstein’s conduct caused severe emotional distress not only to Jane Doe, but also to
her parents, Jane Doe’s Father and Jane Doe’s Stepmother. Epstein knew or had reason to know that
his intentional and outrageous conduct would cause emotional trauma and damage to Jane Doe’s
parents.

25. As a direct and proximate result of Epstein’s intentional or reckless conduct, Jane
Doe, Jane Does’ Father and Jane Doe’s Stepmother have suffered and will continue to suffer severe
mental anguish and pain.

WHEREFORE, Plaintiffs Jane Doe by and through her Father, as parent and natural
guardian, Jane Doe’s Father and Jane Doe’s Stepmother demand judgment against Defendant J effrey
Epstein for compensatory damages, costs, punitive damages, and such other and further relief as this
Court deems just and proper.

COUNT III
Loss of Parental Consortium

26. Plaintiff Jane Doe’s Father repeats and realleges paragraphs 1 through 16 above.
27. Epstein’s tortious conduct is the direct and proximate cause of damages to Jane Doe’s

Father, consisting of parental loss of comfort, companionship and society and healthcare costs

HERMAN & MERMELSTEIN, P. A. www.hermanlaw.com
Case 9:08-cv-80069-KAM Document 1 Entered on FLSD Docket 01/25/2008 Page 6 of 7

associated with the treatment of Jane.

28. Jane Doe’s Father experienced and will continue to experience great mental anguish,

pain and suffering from the time that Defendant’s tortious conduct occurred.

WHEREFORE, Plaintiff Jane Doe’s Father demands judgment for loss of consortium

damages, costs and such other and further relief as this Court deems proper.

JURY TRIAL DEMAND

Plaintiffs demand a jury trial in this action.

Dated: January <2 2008

HERMAN & MERMELSTEIN, P. A.

Respectfully submitted,

HERMAN & MERMELSTEI, P.A.
Attorneys for Plaintiffs

18205 Biscayne Blvd.

Suite 2218

Miami, Florida 33160

Tel: 305-931-2200
Fax: 305-931-0877

  

jiHerman@hermanlaw.com
Florida Bar No. 521647

Stuart S. Mermelstein
smermelstein@hermanlaw.com
Florida Bar No. 947245

Adam D. Horowitz

Florida Bar No. 376980
ahorowitz@hermanlaw.com

www.hermaniaw.com
Case 9:08-cv-80069-KAM DocumGAViL EQMERBHHEED Docket 01/25/2008 Page 7 of 7

The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing, and service of pleading or other papers as required by law,
except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of
the Court for the purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON THE REVERSE OF THE FORM.)

Ka) PLAINTIFFS

JANE DOE, by and through

JANE DOE’s FATHER as parent and natural
guardian, and JANE DOE’s FATHER, and
JANE DOE’s STEPMOTHER, individually,

(b) COUNTY OF RESIDENCE OF FIRST LISTED PLAINTIFF

PALM BEACH COUNTY

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER)
Herman & Mermelistein, P.A., 18205 Biscayne Blvd., Suite 2218, Miami,

FL 33160, (305) 931-2200

 

DEFENDANTS

JEFFREY EPSTEIN

MAGISTRATE JUDGE
JOHNSON

COUNTY OF RESIDENCE OF FIRST LISTED DEFENDANT NEW YORK

(IN U.S. PLAINTIFF CASES ONLY)

08-80069

ATTORNEYS (IF KNOWN)

CIV-MARRA

 

(d) CIRCLE COUNTY WHERE ACTION AROSE: PALM BEACH GOK 0 VY ( t Cr

 

EF. Ein pn

 

ul. BASIS OF JURISDICTION
(PLACE AN X ONE BOX ONLY)

O 1. U.S. Government
Plaintiff
G 2. U.S. Government

Defendant

X 3. Federal Question
(U.S. Government Not a Party)
O 4. Diversity

(Indicate Citizenship of Parties in Item

(For Diversity

 

Case Only)

Citizen of This State

Citizen of Another State

x1

Ht. CITIZENSHIP OF PRINCIPAL PARTIES

PLACE AN X IN ONE BOX FOR PLAINTIFF

Citizen or Subject of a Foreign County Q 3 UO 3

AND ONE FOR DEFENDANT PTF DEF
PTF DEF Incorporated of Principal Place of QO4 O4
a1
Business in This State
Q2 x2
Incorporated and Principal Placeof O5 Q5
Business in Another State
Foreign Nation oO6 O86

 

IV. CAUSE OF ACTION

IVa. _5_

V. NATURE OF SUIT

(CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSE.
DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY.)
DIVERSITY ACTION UNDER 28 U.S.C. §1332(a) FOR SEXUAL ASSAULT

days estimated (for both sides) to try entire case

, (PLACE AN XIN ONE BOX ONLY)

 

A CONTRACT

A TORTS *

B FORFEITURE
PENALTY

A BANKRUPTCY A OTHER STATUS

 

0 610 Agricutture

0 422 Appeal 28 USC 158 O 400 Status Reappointment

 

 

 

 

 

 

5 ioMenne PERSONAL INJURY 0.620 Other Food & Di O 410 Antitrust
jarine er For rug 4
OD 130Miller Act ato Airplane 11.362. Personal Injury Med Malpractice 1625 Drug Related Seizure 0 423 Withdrawal 26 USC 157 © 430 Banks and Banking
C1 140 Negotiable Instrument D315 al Product Liabil 5365 P iy W YB a bi aH of Property 21 USC 884 C1 450 Commerce/ICC Rates/etc. B
O 150 Recovery of Overpayment 0320 pecauit Libel a md “y 0368 Ashosta lure ros lability © 630 Liquor Laws © 460 Deportation
& Enforcement of 0330 Federal Employers’ Liability inju produit Liabilty 0640 RR. & Truck A PROPERTY RIGHTS O 470 Racketeer Influenced and
oo t81 pucament 0340 Marine yury 5 650 ating Regs 4 Corrupt Organizations
icare Act . aoa 660 Occupational 810 Selective Service
DD 152Recovery of Defautted 0 345 Marine Product Liability PERSONAL PROPERTY Safety/Health 0820 Copyrights O 850 Securities/ Commodities/
Student Loans (Excl. 0 350 Motor Vehicle | 0 690 Other 0830 Patent Exchange
Veterans) B © 355 Motor Vehicle Product Liability 0370 Other Fraud D 840 Trademark O 875 Customer Challenge
© 153 Recovery of Overpayment x 360 Other Personal Injury 0 371 Truth in Lending B 12USC3410
of Veteran's Benefits B 0380 Other Personnel 0 891 Agricultural Acts
O 160 Stockholder’s Suits Property Damage B SOCIAL SECURITY C1 892 Economic Stabilization Act
Q 190 Other Contract 11385 Property Damage O 893 Matters.
0 195 Contract Product Liability Product Liability O 894 Energy Allocation Act
0 861 HIA (1395ff) 0 895 Freedom of Information Act
0 862 Black Lung (923) O 900 Appeal of Fee Determination
A REAL PROPERTY A CIVIL RIGHTS B PRISONER PETITIONS A LABOR 0863 DIWC/DIWW (405(g)) Under Equal Access to
0 864 SSID Title xvi Justice
0 865 RSI (405(g)) O 950 Constitutionality of State
O 210 Land Condemnation O 441 Voting O 510Motions ta Vacate Sentence X710 Fair Labor Standards Statutes

OF 220 Foreclosure B

O 230 Rent Lease & Ejectment
O 240 Torts to Land

O 245 Tort Product Liabitity

O 290 All Other Real Property

 

0D 442Employment
D443 Housing/Accommodations

4 Welfare
440 Other Civil Rights
a

 

Habeas Corpus
OD 530General*
0 535 Death Penaity
0 540 Mandamus & Other”
OD 550Civii Rights
*"AorB

 

0 720 Labor Management
Relations 8
730 Labor Management

 

O 890 Other Statutory Actions”
*AorB

A FEDERAL TAX SUITS

Declaratory relief and state law claims

 

Reporting & Di e
Act
0 740 Railway Labor Act
790 Other Labor Litigation

 

for on

0 870 Taxes (U.S. Plaintiff or Defendant)
D871 IRS-Third Party 26 USC 7609

 

 

 

 

 

 

 

 

 

 

 

(1791 Employee Ret. inc. 4
Srey Act FILED by TV YN)
VI. ORIGIN MI
x1. Original O12. Removed fom 0 3.Remanded from 04.Refilled 0 6. Multidistrict Litigation
O7. Appeal to District Judge from JAN 2 4 2008
Proceeding State Court Appellate Court 15. Transferred from another district
(Specify) Magistrate Judgment CLARENCE MA
CLERK U.S. Bee
VIL. REQUESTED CHECK IF THIS ISA O CLASS ACTION DEMAND $ Oo Check Y&S i edlintaue. YES
IN COMPLAINT O UNDER F.R.C.P. 23 complaint:
JURY DEMAND: DB NO
VII. RELATED (See Instructions): (SEE ATTACHED)
CASE(S) IF ANY JUDGE DOCKET NUMBER
DATE f /2 WOK SIGNATURE OF ATTORNEY OF RECORD <A —

 

QNITED STATES DISTRICT COURT
REV. 9/94

FOR OFFICE USE ONLY: ReceiptNo.___”_
Date Paid: __~.

54

Eh
Amount: ye y) ce

M/ifp:
